 1   Kyle A. Kinney, Esq. [Bar No. 027189]
     LAW OFFICES OF KYLE A. KINNEY, PLLC
 2   1717 N. 77th Street, Suite 6
     Scottsdale, AZ 85257
 3   Phone: [480] 269-7077
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 4   Email: kyle@kinneylaw.net
 5   Attorney for Debtors,
 6   Lyman S. and Sharon S. Shreeve

 7                        IN THE UNITED STATES BANKRUPTCY COURT

 8                             FOR THE DISTRICT OF ARIZONA

 9   In Re:                                           Chapter 7
10   Lyman S. Shreeve,                                Case No. 2:18-bk-04480-BKM
     Sharon S. Shreeve, husband and wife,
11
                                Debtors.
12
               NOTICE OF CONTINUANCE OF 341 MEETING OF CREDITORS
13
              NOTICE IS HEREBY GIVEN that the 341 Meeting of Creditors in the
14
     above-captioned matter originally set for June 25, 2018 at 12:00 p.m. has been continued to
15
     July 16, 2018 at 12:00 p.m., in the US Trustee Meeting Room, 230 N. First Avenue, Suite 102
16
     Phoenix, AZ. In a joint case both spouses must attend. Creditors may attend but are not
17
     required to do so.
18
                     DATED this 22nd day of June 2018.
19
                                             LAW OFFICES OF KYLE A. KINNEY, PLLC
20
21                                           By:    /s/ Kyle A. Kinney
                                                    Kyle A. Kinney, Esq.
22                                                  1717 N. 77th Street, Suite 6
                                                    Scottsdale, AZ 85257
23                                                  Attorney for Debtors

24
25
26
27
28
     COPY of the foregoing mailed or served
 1
     via electronic notification this this 22nd day of
 2   June 2018 to:
 3   TRUSTEE Brian J. Mullen
     PO Box 32247
 4   Phoenix, AZ 85064
     bmullen@bktrustee.phxcoxmail.com
 5
     U.S. TRUSTEE
 6   230 North First Avenue, Suite 204
     Phoenix, AZ 85003-1706
 7
     and COPIES served via email to all
 8   other persons requesting notice
 9   Nationstar Mortgage LLC d/b/a                       Midland Credit Management
     Mr. Cooper                                          PO Box 939069,
10   PO Box 619096                                       San Diego CA 92193-9069
     Dallas, TX 75261-9741
11                                                       U.S. Bankruptcy Court, Arizona
     McCarthy & Holthus LLP                              230 North First Avenue, Suite 101
12   1770 Fourth Avenue
     San Diego, CA 92101-2607                            Phoenix, AZ 85003-0608
13
     Kristin McDonald, Esq. ( VIA EMAIL)
14   Lakshmi Jagannath, Esq.
     Ross Mumme, Esq.
15   McCARTHY & HOLTHUS, LLP
     8502 E. Via De Ventura, Suite 200
16   Scottsdale, AZ 85258
     Attorneys for U.S. Bank National
17
     Association as Trustee NRZ Pass-Through
18   Trust X, its assignees and/or successors,
     by and through its servicing agent
19   Nationstar Mortgage LLC d/b/a Mr.
20   Cooper

21   Gagen-McCoy Law Firm
     Attn: Charles Koss
22   630 San Ramon Valley Blvd.,
     Danville CA 94526-4087
23
     Mr. Cooper
24   8950 Cypress Waters Blvd.
     Scottsdale AZ 85255
25
     Azdeprev.Com (VIA EMAIL)
26   AZ Department Of Revenue
     Bankruptcy & Litigation,
27   1600 W. Monroe, 7th Fl.
     Phoenix, AZ 85007-2650
28
     By: /s/ Paula D. Hillock
